Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 1 of 137 Page ID
                                 #:23938




  SENTENCING EXHIBIT 1
    Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 2 of 137 Page ID
                                     #:23939




                                                                       CERTIFIED COP



                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                       COUNTY OF LOS ANGELES - CENTRAL DISTRICT

               DEPT 44                     JUDGE: EDWARD B. MORETON, JR.




(
       JASON FRANK LAW PLC,                   )
       Professional law corporation,          )
                                              )
                          Plaintiff           )
                                              )
                 Vs.                          )    Case No: BC706555
                                              )
       MICHAEL J. AVENATTI,                   )
       An individual,                         )
                                              )
                         Defendant.           )
      11--------------)




                             JUDGMENT DEBTOR EXAMINATION

                                  LOS ANGELES, CALIFORNIA

                                      FRIDAY, MARCH 15, 2019




                                                                            HCR
       REPORTED BY:                               600 SOUTH LAKE AVENUE, SUITE 102
       WINIFRED MCCRAY-MOODY                                      PASADENA, CA 91106
       CSR NO. 12747                                                      626/792-6777
       ANN BONNETTE                                                   FAX 626/792-8760
       CSR NO. 6108                               E-Mail: Production@ huntingtoncr.com
                                                  Website: http://www.huntingtoncr.com




                                                                         USAO_01142646
        Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 3 of 137 Page ID
                                         #:23940

(   .                     JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

              1                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

              2                       COUNTY OF LOS ANGELES - CENTRAL DISTRICT

              3      DEPT 44         JUDGE:   EDWARD B. MORETON,       JR.

              4         JASON FRANK LAW PLC,                    )
                        Professional law corporation,           ).
              5                                                 )
(
                                                 Plaintiff      )
              6                                                 )
                               Vs.                              ) Case No: BC706555
              7                                                 )
                        MICHAEL J. AVENATTI,                    )
(
              8         An individual,                          )
                                                                )
              9                   Defendant. )
                        _________________ )
             10
(
             11

             12

(
             13                           JUDGMENT DEBTOR EXAMINATION,

             14         taken on behalf of the Applicant,              at the Stanley Mask

             15         Courthouse, 111 North Hill Street, Los Angeles,

             16         California,       90012, in Department 44, commencing at 11:57

             17         a.m., Friday, March 15, 2019, before Winifred

             18         McCray-Moody, C.S.R. No. 12747,               (Morning Session), and
(
             19         Ann Bonnette, C.S.R. No.        6108,        (Afternoon Session).

             20

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    Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 4 of 137 Page ID
                                     #:23941


r                     JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

          1         APPEARANCES:

          2         For the Applicant:

          3         LAW OFFICES OF FRANK SIMS    &    STOLPER, LLP

          4         BY:     ANDREW D. STOPLER, ESQ.

          5         19800 MacArthur Boulevard
(

          6         Suite 855

          7         Irvine, CA 92612

(         8         (949)    201-2400

          9         astolper@lawfss.com

         10
(
         11         For the Defendant:

         12         LAW OFFICES OF SHULMAN HODGES & BASTIAN, LLP

         13         BY:     RONALD S. HODGES, ESQ.

         14         100 Spectrum Center Drive

         15         Suite 600

         16         Irvine, CA 92618

         17         (949)    340-3400

         18         rhodges@shbllp.com
(
         19

         20

         21

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    Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 5 of 137 Page ID
                                     #:23942


f                     JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

          1                                 I N D E X

          2        WITNESS:                EXAMINATION             PAGE
(
          3        MICHAEL J. AVENATTI     BY MR. STOLPER          4,     6,   7,    9, 10

          4                                                        13, 14, 15, 16

          5                                                        2 6,    2 8, 2 9, 31

          6                                                        35, 38, 44, 45

          7                                                        4 6,    47, 48, 49

          8                                                        50,     57, 58, 59

          9                                                        60,     62,      64,   67,

         10                                                        68

         11

         12

(
         13                               E X H I B I T S

         14                                   None.

         15
(
         16

         17                        INSTRUCTIONS NOT TO ANSWER

         18                        PAGE                     LINE

         19                        6                        9
                                   9                        4
         20                        10                       11
                                   15                       8
         21                        16                       4
                                   18                       1
         22                        19                       8
                                   22                       25
         23                        46                       22
                                   47                       1
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     Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 6 of 137 Page ID
                                      #:23943


(                         JUDGMENT DEBTOR EXAMINATION, MARCH 15,      2019

           1                 LOS ANGELES, CALIFORNIA, FRIDAY, MARCH 15, 2019

           2                                  11:19 A.M.
(
           3                                EXAMINATION

           4         BY MR. STOLPER:

(
           5         Q.        MR. AVANATTI, DO YOU UNDERSTAND YOU'RE UNDER

           6         OATH?

           7         A.         I'M SORRY, SIR?
(
           8         Q.         DO YOU UNDERSTAND YOU'RE UNDER OATH?

           9         A.         YES.

          10 .       Q.         CAN YOU PLEASE STATE YOUR FULL NAME,    PLEASE?

          11         A.        MICHAEL JOHN AVANATTI.

          12         Q.        WHAT IS YOUR CURRENT RESIDENTIAL ADDRESS?

(         13         A.         10000 SANTA MONICA BOULEVARD, NUMBER 2107, L.A.,

          14         90067.

          15         Q.         DO YOU OWN, OR DO YOU RENT?
(
          16         A.         I RENT.

          17         Q.         WHAT IS THE NAME THAT THE LEASE IS HELD IN?

          18         A.         I THINK IT'S MY NAME,   INDIVIDUAL.
(
          19         Q.         WHAT'S THE TERM OF YOUR LEASE?

          20         A.         I DON'T REMEMBER.

          21         Q.         HOW LONG HAVE YOU LIVED THERE?

          22         A.        AT THAT ADDRESS, ABOUT -- I THINK THREE MONTHS.

          23         Q.         HOW LONG IN THAT BUILDING?
(_
          24         A.         I'VE HAD A UNIT IN THAT BUILDING SINCE MARCH OF

          25         2017.

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        Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 7 of 137 Page ID
                                         #:23944


    (                        JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

              1      PERFORMED?

              2              A    SOME LEGAL WORK, SOME POLITICAL WORK, SOME OTHER
    (
              3      WORK.

              4              Q    HOW LONG HAS MS. SCOTT WORKED FOR YOU DIRECTLY

              5      OR INDIRECTLY?

              6              A    I DON'T KNOW.       EIGHTEEN MONTHS, MAYBE.

              7              Q    WHAT IS MS. SCOTT'S ROLE IN DESERT HARVEST, IF
(
              8      ANY?

              9              A    NONE.

             10              Q    TO YOUR KNOWLEDGE, DOES MS. SCOTT HAVE ANY
(
             11      DIRECT OR INDIRECT INTEREST IN DESERT HARVEST?

             12              A    SHE HAS NONE.

(            13              Q    AS I UNDERSTAND IT, YOUR WORK FOR DESERT HARVEST

             14      WAS THAT OF AN ATTORNEY?          IS THAT YOUR TE STIMONY?

             15              A    ATTORNEY AND ADVISOR.
(
             16              Q    ATTORNEY AND ADVISOR.

             17                   BEYOND BEING AN ATTORNEY AND ADVISOR, DID YOU

             18      RECEIVE ANY EQUITY INTEREST IN DESERT HARVEST, IN ANY WAY,

             19      SHAPE, OR FORM?

             20              A    NO.

             21              Q    WHAT    rs   AUGUSTUS LLP?

             22              A    IT'S A LIMITED LIABILITY PARTNER.

             23              Q    WHO OWNS AUGUSTUS LLP?
(
             24              A    I'M NOT AT LIBERTY TO DISCLOSE THAT.          IT'S NOT

             25      ME.

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        Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 8 of 137 Page ID
                                         #:23945


                           JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

              1            Q     DO YOU HAVE ANY DIRECT OR INDIRECT INTEREST IN

              2     AUGUSTUS, LLP.

              3            A     NO.

              4            Q     WHY ARE YOU NOT AT LIBERTY TO DISCLOSE WHO OWNS

    (         5      IT?

              6            A     BECAUSE IT WAS ESTABLISHED FOR A CLIENT.

              7            Q     WHEN WAS IT ESTABLISHED?
    (
              8            A     I DON'T REMEMBER.

              9            Q     WAS IT ESTABLISHED BY YOU INDIVIDUALLY OR BY ONE

             10      OF YOUR LAW FIRMS FOR A CLIENT?
    (
             11            A     I DON'T REMEMBER.

             12            Q     TO YOUR KNOWLEDGE, DOES AUGUSTUS LLP HAVE ANY

(            13     ASSETS?

             14                  MR. HODGES:    OBJECT TO THE EXTENT THAT CALLS FOR

             15     ATTORNEY-CLIENT PRIVILEGE.
(
             16                  YOU CAN ANSWER THAT " YES " OR "NO" AS TO WHETHER

             17      YOU KNOW.

             18                  THE WITNESS:    I DON'T KNOW HOW I WOULD ANSWER
l
             19      THAT WITHOUT RELYING ON THE INFORMATION FROM MY CLIENT.

             20     BY MR. STOLPER:

             21            Q     WHETHER OR NOT AUGUSTUS HAS ASSETS IS

             22     ATTORNEY-CLIENT PRIVILEGE?

             23                  MR . HODGES:   OF COURSE.
(
             24                  THE WITNESS:    SURE.

             25

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     Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 9 of 137 Page ID
                                      #:23946


(                       JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

           1              SUPERIOR COURT OF THE STATE OF CALIFORNIA

           2               COUNTY OF LOS ANGE LE S - CENTRAL DISTRICT
(

           3

           4      JASON FRANK LAW PLC,
                  PROFESSIONAL LAW CORPORATION
(          5
                                PLAINTIFF,
           6
                 VS.                                  CASE NO. BC706555
           7
                 MICHAEL J. AVENATTI,
(
           8     AN INDIVIDUAL,

           9                    DEFENDANT.

          10
(
          11

          12

(         13             I, WINIFRED MCCRAY-MOODY, C.S.R. NO. 12747, DO

          14      HEREBY CERTIFY THAT THE FOREGOING . PAGES 1-72, INCLUSIVE,

          15      COMPRISE A FULL, TRUE, AND CORRECT COMPUTER-AIDED
(
          16      TRANSCRIPT OF THE PROCEEDINGS TAKE IN THE ABOVE-ENTITLED

          17     MATTER ON MARCH 15, 2019 .

          18             DATED THIS 29T H DAY OF MARCH, 2019.
l
          19

          20

(_        21

          22

          23

          24

          25

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     Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 10 of 137 Page ID
                                       #:23947


(
                           JUDGMENT DEBTOR EXAMINATION, MARCH 15, 2019

            1                SUPERIOR COURT OF THE STATE OF CALIFORNIA

            2                 COUNTY OF LOS ANGELES - CENTRAL DISTRICT

            3

            4     JASON FRANK LAW PLC,
                  PROFESSIONAL LAW CORPORATION
(           5
                                  PLAINTIFF,
            6
                  vs.                                 CASE NO. BC706555
            7
                  MICHAEL J. AVENATTI,
            8     AN INDIVIDUAL,

            9                     DEFENDANT.

           10
(

           11

           12

           13               I, ANN BONNETTE, CSR NO. 6108, DO HEREBY CERTIFY

           14     THAT THE FOREGOING PAGES 73-174, INCLUSIVE, COMPRISE A

           15     FULL, TRUE, AND CORRECT COMPUTER-AIDED TRANSCRIPT OF THE
(
           16     PROCEEDINGS TAKE IN THE ABOVE-ENTITLED MATTER ON MARCH 15,

           17      2019.

           18               DATED THIS 29TH DAY OF MARCH, 2019.

           19

           20

(          21

           22

           23
                                                   Cl~J:ro•
                                                   ANN BONNETTE
                                                   CSR NO. 6108

           24

           25


(.
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 11 of 137 Page ID
                                  #:23948




    SENTENCING EXHIBIT 2
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 12 of 137 Page ID
                                  #:23949
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 13 of 137 Page ID
                                  #:23950
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 14 of 137 Page ID
                                  #:23951
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 15 of 137 Page ID
                                  #:23952
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 16 of 137 Page ID
                                  #:23953
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 17 of 137 Page ID
                                  #:23954
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 18 of 137 Page ID
                                  #:23955
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 19 of 137 Page ID
                                  #:23956
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 20 of 137 Page ID
                                  #:23957
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 21 of 137 Page ID
                                  #:23958
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 22 of 137 Page ID
                                  #:23959
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 23 of 137 Page ID
                                  #:23960
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 24 of 137 Page ID
                                  #:23961
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 25 of 137 Page ID
                                  #:23962
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 26 of 137 Page ID
                                  #:23963
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 27 of 137 Page ID
                                  #:23964
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 28 of 137 Page ID
                                  #:23965
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 29 of 137 Page ID
                                  #:23966
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 30 of 137 Page ID
                                  #:23967




  SENTENCING EXHIBIT 3
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 31 of 137 Page ID
                                  #:23968
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 32 of 137 Page ID
                                  #:23969
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 33 of 137 Page ID
                                  #:23970
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 34 of 137 Page ID
                                  #:23971
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 35 of 137 Page ID
                                  #:23972
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 36 of 137 Page ID
                                  #:23973
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 37 of 137 Page ID
                                  #:23974
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 38 of 137 Page ID
                                  #:23975
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 39 of 137 Page ID
                                  #:23976
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 40 of 137 Page ID
                                  #:23977
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 41 of 137 Page ID
                                  #:23978




  SENTENCING EXHIBIT 4
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 42 of 137 Page ID
                                  #:23979
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 43 of 137 Page ID
                                  #:23980




 SENTENCING EXHIBIT 5
       Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 44 of 137 Page ID
                                         #:23981

Sagel, Brett (USACAC)

From:             Dean Steward <deansteward7777@gmail.com>
Sent:             Sunday, July 4, 2021 11:35 AM
To:               Sagel, Brett (USACAC); Wyman, Alex (USACAC)
Subject:          questionnaire



Below are the changes from the defense, per court order,
Thanks,

Dean


                                     Defense Changes to Questionnaire

       1. Add the following names to Question No. 51
            a. Andrew Stolper
            b. Jason Frank
            c. Scott Sims
            d. DeLeassa Penland
            e. Melissa Galicia
            f. Chris Harper
            g. Aimee Schabilion
            h. Daniel Dreyer
            i. Leia Bellis
            j. Michael Eagan
            k. Glen La Palme
            l. Leroy Baca
            m. Los Angeles County Sheriff’s Department

       2. Edit the following names on Question No. 51
             a. Robert Susko (corrected from “Roberty Susko”)
             b. Courtney Cummings Cefali (corrected to include married name)

       3. Additions to Questions
            a. On Question No. 51 add the language “and what you think about that person or entity” after
            the language “please describe your familiarity with that person or entity”

              b. Between Question 17 and Question 18 add the question, “Have you ever posted online or on
              social media about any court case or legal proceeding? (Please Circle: YES or NO). If yes, please
              describe what you have posted and when.”




                                                      1
                                                                 Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 45 of 137 Page ID
                                                                                                            #:23982
                                                                       c. Question No. 34 should be edited to read as follows, “Have you, or someone close to you,
                                                                       ever hired a lawyer? (Please Circle: YES or NO). If yes, why and was there anything positive or
                                                                       negative about that experience? Please describe:”
‐‐



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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 46 of 137 Page ID
                                  #:23983




   SENTENCING EXHIBIT 6
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 47 of 137 Page ID
                                  #:23984


            STATE BAR COURT OF THE STATE OF CALIFORNIA

            ------------------------X

            IN THE MATTER OF:

                 STATE BAR OF CALIFORNIA,

                                   Petitioner,
                                                          Case No.:
                                                          19TE30259
                       Vs.

                 MICHAEL J. AVENATTI,

                                   Respondent.

            ------------------------X

                                   January 14, 2020

            HELD AT:               845 S. Figueroa Street
                                   Los Angeles, CA 90017

            BEFORE:                HONORABLE YVETTE D. ROLAND,
                                   Judge

            APPEARANCES:           ELI MORGENSTERN, ESQ.
                                   Attorney for the Petitioner
                                   OFFICE OF THE CHIEF TRIAL COUNSEL
                                   The State Bar of California

                                   TOM WARREN, ESQ.
                                   DALE DUGAN, ESQ.
                                   Attorneys for the Respondent
                                   PIERCE BAINBRIDGE BECK PRICE & HECHT
                                   LLP

                                   ELLEN PANSKY, ESQ.
                                   Attorney for the Respondent
                                   PANSKY, MARKEL

            TRANSCRIBER:           JOYCE A. WASER
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 48 of 137 Page ID
                                  #:23985INDEX


                                      W I T N E S S E S

            PETITIONER:                                   RE           RE           V.
            WITNESS          DIRECT       CROSS       DIRECT        CROSS           D.   J
            M. Avenatti      4



            RESPONDENT:                                   RE           RE           V.
            WITNESS          DIRECT       CROSS       DIRECT        CROSS           D.   J




                                       E X H I B I T S

            PETITIONER:
            IDENTIFICATION           DESCRIPTION                             I.D.    IN EV.




            RESPONDENT:
            IDENTIFICATION           DESCRIPTION                             I.D.    IN EV.




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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 49 of 137 Page ID
                                 PROCEEDINGS
                                  #:23986                                             3


    1                        THE COURT:        Okay, your next witness, Mr.

    2            Morgenstern?

    3                        MR. ELI MORGENSTERN:            The State calls

    4            Respondent, Michael Avenatti.

    5                        COURT OFFICER:         [unintelligible] just

    6            [unintelligible].        Do you state that the testimony

    7            you are about to give, in the matter now pending

    8            before this Court, will be the truth, the whole

    9            truth, and nothing but the truth?

   10                        MR. MICHAEL J. AVENATTI:              I do.

   11                        COURT OFFICER:         Thank you.        Go ahead and

   12            have a seat, and state – I'm sorry.                 Spell your first

   13            and last name, for the record please.

   14                        MR. AVENATTI:         Yes.     Michael, middle name

   15            John, last name Avenatti, A-V-E-N-A-T-T-I.

   16                        COURT OFFICER:         Thank you.

   17                        THE COURT:        Good afternoon, Mr. Avenatti.

   18                        MR. AVENATTI:         Good afternoon, Your Honor.

   19                        THE COURT:        Mr. Morgenstern, Mr. Warren,

   20            would you like to have a seat?

   21                        MR. TOM WARREN:          Yes, Your Honor.       I just

   22            wanted to know if Mr. Avenatti wanted some water, or

   23            something.     I don't know if there is some up there

   24            for you.

   25                        THE COURT:        There should be.


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 50 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23987                                        61


    1            that issue would have arisen in the context of

    2            exhibits 1015 or 1016.           But the issue here is whether

    3            or not Exhibit 1004, that everyone has, these

    4            exhibits were served some time back, whether that

    5            exhibit contains an email, from Mr. Avenatti, or

    6            anyone at his firm, advising Mr. Berella about Mr.

    7            Avenatti, or the firm's receipt of the settlement

    8            funds, the Berella settlement funds.

    9            Q:     And there isn't one, isn't that correct, Mr.

   10       Avenatti?

   11            A:     Mr. Morgenstern, that's the third time – I have

   12       answered this question three times.

   13            Q:     Let me – is there a reason why you haven't

   14       reviewed your own exhibits?

   15                        MR. WARREN:        Your Honor, are we going to do

   16            this again?      Objection—

   17                        THE COURT:        [Interposing] Objection as to?

   18                        MR. WARREN:        Argue – argumentative.

   19                        THE COURT:        Mr. Avenatti, have you reviewed

   20            Exhibit 1004, for the purpose of determining whether

   21            or not there is an email, in that exhibit, that

   22            references your receipt, or the firm's receive of the

   23            Berella settlement funds?

   24                        MR. AVENATTI:         Your Honor, I'm sorry.    I

   25            have reviewed the exhibits.             I have not reviewed the


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 51 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23988                                       62


    1            Exhibit 1004 for that purpose.

    2            Q:    Well, in your review, for whatever purpose, you

    3       didn't find an email where you notified Mr. Berella of the

    4       receipt of his – of the initial 1.6 million dollar

    5       settlement payment, isn’t that correct, Mr. Avenatti?

    6                        MR. WARREN:        Objection, asked and answered.

    7                        THE COURT:        Overruled.

    8            A:    Sir, I don't recall finding that email in this

    9       exhibit.   But I wasn't looking for that email.

   10            Q:    The answer is—

   11            A:    [Interposing] But I would like to see all the

   12       emails, frankly.

   13                        THE COURT:        Okay.     Mr. Avenatti, do you

   14            recall generating an email or a text message, or any

   15            form of communication that informed Mr. Berella about

   16            the receipt of the 1.6 million dollars in settlement

   17            funds?

   18                        MR. AVENATTI:         Mr. Berella was fully

   19            informed of the receipt of those monies, Your Honor.

   20            I don't recall how he was informed.

   21                        THE COURT:        Okay.     Mr. Morgenstern?

   22            Q:    Mr. Avenatti, if you had informed him, let's say

   23       first by text message, don't you think that would be an

   24       important text message to provide the State Bar?

   25                        MR. WARREN:        Objection, Your Honor,


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 52 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23989                                         66


    1            the stand.     Because Mr. Berella specifically

    2            testified that he provided all of the documents,

    3            texts and emails, that related to Mr. Avenatti's

    4            representation to them.           And yet, we have received

    5            barely anything, from – from the State Bar.

    6            Compounded by the fact that we now know that there

    7            was at least two documents, at least one of which was

    8            specifically—

    9                         THE COURT:       [Interposing] Okay, Mr. Warren,

   10            is it your understanding that the Exhibit 1004

   11            documents are documents that Respondent has produced,

   12            from materials provided to him, by the U.S.

   13            Attorney's Office?

   14                         MR. WARREN:       That is correct, Your Honor.

   15                         THE COURT:       Okay.     Let's – let's move on.

   16                         MR. WARREN:       Thank you, Your Honor.

   17                         THE COURT:       Mr. Morgenstern?

   18            Q:    The bottom line is, just so it is abundantly

   19       clear, you didn't—

   20                         THE COURT:       [Interposing] Let's not repeat

   21            anything that we have already covered.

   22                         MR. MORGENSTERN:          All right.

   23                         THE COURT:       It is abundantly clear.

   24            Q:    If you had a document, in your possession, a

   25       written document, that showed that you notified Mr.


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 53 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23990                                             67


    1       Berella that you received his funds, on or about January

    2       5th, 2018, you would have produced that document, wouldn't

    3       you have, Mr. Avenatti?

    4            A:    Sir, we produced whatever documents we had

    5       access to, relating to the issues here today.                    But that is

    6       a small subset of the totality of the documents.

    7            Q:    But none of the documents, that you produced,

    8       demonstrated that you notified Mr. Berella, of the receipt

    9       of the initial 1.6 million dollar settlement payment,

   10       isn't that correct?

   11            A:    I – I disagree with that assertion, sir.

   12            Q:    Well, time is very valuable here, but you can't

   13       point to one – to one exhibit, written exhibit, that you

   14       launched, that demonstrated that you notified him, in

   15       writing, of the receipt of his initial 1.6 million dollar

   16       settlement payment, can you, Mr. Avenatti?

   17            A:    I disagree with that, sir—

   18                        MR. WARREN:        [Interposing] Hang on a

   19            second.    Objection to the form of the question –

   20            argumentative, asked and answered.

   21                        THE COURT:        Okay, overruled.

   22            A:    Sir, I disagree with that, for the following

   23       reason.   If you read through the text messages, the litany

   24       of text messages and other documents relating to my

   25       communications with Mr. Berella, and you compare that to


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                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23991                                               68


    1       the testimony that he has provided in this hearing, the

    2       last two days, you can easily conclude that Mr. Berella,

    3       number one is lying about being notified.                  And number two,

    4       his behavior and his communications were not consistent

    5       with what he is claiming in this matter.                 That is my

    6       testimony, sir.

    7                         MR. MORGENSTERN:          Your Honor, move to

    8            strike as non-responsive.

    9                         THE COURT:       Okay, overruled.              However, Mr.

   10            Avenatti, I understood Mr. Morgenstern's question to

   11            relate to a specific document.               If you are aware of

   12            any document that reflects that Mr. Berella was

   13            notified, of the receipt of—

   14                         MR. AVENATTI:        [Interposing] I am not aware

   15            of a specific document that has been produced to

   16            date, reflecting that.

   17                         THE COURT:       Okay.     Mr. Morgenstern?

   18            Q:    Upon receiving Mr. Berella's initial 1.6 million

   19       dollar settlement payment, from the settling party, as an

   20       attorney of 18 years' experience, at the time, you were

   21       aware that you were required to provide Mr. Berella an

   22       accounting of those funds, correct?

   23            A:    I was aware that there was an obligation to

   24       provide an accounting, a general accounting, to the

   25       client, at some point, yes.           I don't know what the time


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 55 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23992                                         80


    1            Q:      You also left a voicemail message, for Mr.

    2       Berella, on November 17th, 2018, isn't that right?

    3            A:      Consistent with my regular communications, with

    4       Mr. Berella, I left a voicemail message, I sent a text

    5       message, I emailed him.         He never called.

    6            Q:      But you never sent an accounting, either, isn't

    7       that right?

    8                         MR. WARREN:       Objection, asked and answered.

    9            A:      I have already answered—

   10                         MR. WARREN:       [Interposing] Objection, asked

   11            and answered.

   12                         THE COURT:       Overruled.        You can answer it.

   13            Does your answer differ from your prior answers?

   14                         MR. AVENATTI:        No, it is the same answer,

   15            Your Honor.

   16                         THE COURT:       Okay.     Mr. Morgenstern—

   17            Q:      [Interposing] Inviting your attention to State

   18       Bar Exhibit 44, this is a letter that Mr. Bledsoe sent to

   19       you, on December 3rd, 2018, via email, isn't that right?

   20                         MR. WARREN:       Objection, foundation.

   21                         THE COURT:       Overruled.

   22            A:      Mr. Morgenstern, that is what the document says.

   23       I don't have a recollection of receiving this, and I can't

   24       confirm or deny it, without access to the entirety of my

   25       documents.


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 56 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23993                                      81


    1            Q:    In this – in this letter, among other things,

    2       Mr. – Mr. Bledsoe, once again, asks that you provide an

    3       immediate accounting, in the event that the settling party

    4       made the initial 1.6 million dollar payment provided for

    5       in the settlement agreement.           Do you see that?

    6                        MR. WARREN:        Mr. Morgenstern, where on this

    7            page are you referencing?

    8                        MR. MORGENSTERN:           I am looking at the first

    9            paragraph, and then it is numbered 3, within the

   10            first paragraph.

   11            A:    I see the words on the page, sir.

   12            Q:    All right.      You never provided an accounting, in

   13       response to this letter, isn't that right?

   14            A:    Sir, I am going to stand on my prior answer.

   15                        MR. WARREN:        And a belated asked and

   16            answered.

   17                        MR. MORGENSTERN:           It is a different

   18            document number; I am referring to.

   19                        MR. WARREN:        The question is about whether

   20            he ever provided an accounting.

   21                        THE COURT:        Okay.     You can answer the

   22            question, Mr. Avenatti.

   23            A:    I don't have a recollection of providing an

   24       accounting, after this letter.

   25            Q:    In fact, you don't have a recollection of ever


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 57 of 137 Page ID
                  DIRECT EXAMINATION   OF M. AVENATTI BY E. MORGENSTERN
                                  #:23994                                        82


    1       providing Mr. Berella, with an accounting, isn't that

    2       right?

    3            A:    No, that is completely false.

    4                        MR. WARREN:        Objection.        Objection.

    5            A:    That is completely—

    6                        MR. WARREN:        [Interposing] Hang on, there

    7            is an objection.

    8                        THE COURT:        Mr. Avenatti, allow your

    9            counsel to state his objection.

   10                        MR. WARREN:        Misstates the testimony; asked

   11            and answered.

   12                        THE COURT:        Overruled.

   13            A:    No, that is completely false, Mr. Morgenstern.

   14       I would happy to put my credibility up against Mr.

   15       Berella's at any point in time, on this issue, or any

   16       other issue.

   17                        MR. MORGENSTERN:           Move to strike as non-

   18            responsive, every—

   19                        THE COURT:        [Interposing] Sustained, as to

   20            the last sentence, regarding credibility.

   21            Q:    Even though you claim to have provided an

   22       accounting, once again, not one of your exhibits consists

   23       of an accounting to Mr. Berella, isn't that right?

   24                        MR. WARREN:        Objection.

   25                        THE COURT:        That has been asked and


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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 58 of 137 Page ID
                                  #:23995
                                                                               87

                                 C E R T I F I C A T E



            I, Joyce A. Waser certify that the foregoing transcript of

            proceedings in the State Bar Court of the State of

            California, Case No. 19TE30259 was prepared using the

            required transcription equipment and is a true and

            accurate record of the proceedings to the best of my

            ability. I further certify that I am not connected by

            blood, marriage or employment with any of the parties

            herein nor interested directly or indirectly in the matter

            transcribed.



            Signature:

            Date: ___April 16, 2020___




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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 59 of 137 Page ID
                                  #:23996




  SENTENCING EXHIBIT 7
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 60 of 137 Page ID
                                  #:23997
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 61 of 137 Page ID
                                  #:23998
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 62 of 137 Page ID
                                  #:23999
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 63 of 137 Page ID
                                  #:24000
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 64 of 137 Page ID
                                  #:24001
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 65 of 137 Page ID
                                  #:24002
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 66 of 137 Page ID
                                  #:24003
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 67 of 137 Page ID
                                  #:24004
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 68 of 137 Page ID
                                  #:24005
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 69 of 137 Page ID
                                  #:24006
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 70 of 137 Page ID
                                  #:24007
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 71 of 137 Page ID
                                  #:24008




SENTENCING EXHIBIT 8
0061-JVS Document 1000-2 Filed 10/11/22 Page 72 o
                    #:24009
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 73 of 137 Page ID
                                  #:24010
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 74 of 137 Page ID
                                  #:24011
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 75 of 137 Page ID
                                  #:24012
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 76 of 137 Page ID
                                  #:24013




SENTENCING EXHIBIT 9
0061-JVS Document 1000-2 Filed 10/11/22 Page 77 of
                    #:24014
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 78 of 137 Page ID
                                  #:24015




SENTENCING EXHIBIT 10
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 79 of 137 Page ID
                                  #:24016
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 80 of 137 Page ID
                                  #:24017
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 81 of 137 Page ID
                                  #:24018
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 82 of 137 Page ID
                                  #:24019
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 83 of 137 Page ID
                                  #:24020




SENTENCING EXHIBIT 11
     Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 84 of 137 Page ID
                                       #:24021



          1                    UNITED STATES BANKRUPTCY COURT
          2                    CENTRAL DISTRICT OF CALIFORNIA
          3                            SANTA ANA DIVISION
          4
          5    IN RE:


          6

              EAGAN AVENATTI,       LLP,               NO.   8:17-BK-11961-CB
          7
                             DEBTOR.
          8



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        11
        12

-1      13              DEBTOR EXAMINATION OF MICHAEL AVENATTI, ESQ.
        14                                   PAGES 1 - 245
        15          (PAGES 133 THROUGH 155 AND PAGES 174 THROUGH 190
        16          WERE MARKED CONFIDENTIAL AND BOUND SEPARATELY)
        17                           FRIDAY, MARCH 22,            2019
        18                          LOS ANGELES,          CALIFORNIA
        19
        20
        21
        22
        23
        24        JOB NO. 3268985
                  REPORTED BY SERENA WONG
        25        CSR #10250, RPR,         CCRR #200


                                                                              Page 1

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    Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 85 of 137 Page ID
                                      #:24022



         1                    UNITED STATES BANKRUPTCY COURT
         2                    CENTRAL DISTRICT OF CALIFORNIA
         3                             SANTA ANA DIVISION
         4
         5    IN RE:


         6

              EAGAN AVENATTI,      LLP,                NO.    8:17-BK-11961-CB
         7

                            DEBTOR.
         8


         9

        10
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        14
        15    THE DEBTOR EXAMINATION OF MICHAEL AVENATTI,                       ESQ.
        16    TAKEN AT 345 350 W.         1ST STREET,         LOS ANGELES,
        17    CALIFORNIA,    ON FRIDAY, MARCH 22,                2019,      BEFORE
        18    SERENA WONG,    CSR #10250,         RPR,    CCRR #200,         CERTIFIED
        19    SHORTHAND REPORTER,         IN AND FOR THE STATE OF
        20    CALIFORNIA.
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                                                                               Page 2
I
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 86 of 137 Page ID
                                  #:24023



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                                                                        Page 3

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                                                                       USAO_01142931
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 87 of 137 Page ID
                                  #:24024



     1                                       INDEX
     2
     3    WITNESS:   MICHAEL AVENATTI, ESQ.
     4
     5    EXAMINATION                                                      PAGE
     6   MR. STOLPER                                                        6

     7

     8

     9

    10                    INSTRUCTIONS NOT TO ANSWER
    11                             PAGE            LINE
    12                             16                   2
                                   22                  10
    13                             26                   5
                                   29                  18
    14                             44                  22
                                   45                  15
    15                             45                  19
    16
    17
    18
    19
    20                       INFORMATION REQUESTED
    21                                    NONE.
    22
    23
    24
    25


                                                                        Page 4

                        Personal Court Reporters, A Veritext Company
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                                                                       USAO_01142932
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 88 of 137 Page ID
                                  #:24025



     1                           INDEX TO EXHIBITS
     2    EXHIBITS                                                       MARKED
     3    EXHIBIT 1                                                      65
     4    EXHIBIT 4                                                      94
     5    EXHIBIT 7                                                     111
     6    EXHIBIT 23    (RETAINED BY COUNSEL)                           204

     7    EXHIBIT 25    (RETAINED BY COUNSEL)                           205
     8    EXHIBIT 28    (RETAINED BY COUNSEL)                           207
     9    EXHIBIT 28A                                                   207
    10    EXHIBIT 47                                                     74
    11    EXHIBIT 60                                                    216
    12    EXHIBIT 61                                                    223
    13    EXHIBIT 75                                                    233
    14    EXHIBIT 76                                                       6
    15    EXHIBIT 82                                                     46
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25

                                                                        Page 5

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                                                                       USAO_01142933
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 89 of 137 Page ID
                                  #:24026



     1                         FRIDAY, MARCH 22, 2019

     2                       LOS ANGELES, CALIFORNIA

     3

     4                        MICHAEL AVENATTI, ESQ.

     5    was called as a witness, and having been first duly

     6    sworn, was examined and testified as follows:

     7

     8                                  EXAMINATION

     9    BY MR. STOLPER:

    10            Q   Good morning, Mr. Avenatti.                You understand

    11    you're under oath?

    12            A   Yes,   sir.

    13            Q   Mr. Avenatti,        I first want to ask you some

    14    questions about your productions in response to JFL's

    15    notice.     On November 28, 2018,          you were ordered by

    16    Judge Scott to produce documents in response to the

    17    notice; is that correct?

    18            A    I don't know if it's correct or not as to

    19    date.

    20            Q    I'm going to go ahead and put up what I've

    21    marked as Exhibit 70.          Sorry.       76.    Let's try this.

    22    There you go.

    23                 (Exhibit 76 was marked.)

    24            Q    BY MR. STOLPER:         Do you recognize that

    25    document?


                                                                         Page 6

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                                                                        USAO_01142934
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 90 of 137 Page ID
                                  #:24027



     1                    THE WITNESS:        I don't.

     2            Q       BY MR. STOLPER:         Mr. Avenatti, have you

     3   produced Eagan Avenatti's federal and state tax returns

     4    from 2013 to the present?

     5            A       I don't remember.          We may have.

     6            Q       Do you recall what steps you took to gather

     7    those tax returns and produce them to JFL Law,                     if,    in

     8    fact,       that happened?

     9                    MR. HODGES:       Foundation; argumentative.

    10                    THE WITNESS:        I don't.

    11            Q       BY MR. STOLPER:         Would you have done that

    12    yourself or would you have instructed an employee to do

    13    that?

    14            A       Sir,   I don't.

    15            Q       Who has the tax returns or copies of the tax

    16    returns from EA from 2013 to the present, other than

    17    the IRS?

    18            A       I think they're in the files of the firm in

    19    storage.

    20            Q       Mr. Avenatti, have you produced all of Eagan

    21   Avenatti's agreements with Avenatti                    &   Associates to

    22    Jason Frank Law in response to Judge Scott's order?

    23            A       Sir,   I don't recall without looking at the

    24    entirety of the production, as well as the productions

    25    that were made prior to the order, because we were not

                                                                           Page 31

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                                                                           USAO_01142959
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 91 of 137 Page ID
                                  #:24028



     1    what we had to.

     2                I may have disclosed it, but I have not

     3    reviewed the transcript.

     4         Q      Mr. Avenatti, who is Gregory Barela?

     5         A      Gregory Barela is currently on felony

     6    probation for making false statements in an effort to

     7    get paid money.     He's a former client of the firm.                   I

     8    think he's been convicted two or three times of various

     9    felonies.

    10         Q      Was Mr. Barela a client of Eagan Avenatti?

    11         A      I don't recall which firm he was a client of.

    12    I think -- I think he was a client of Eagan Avenatti,

    13    but I'm not certain.

    14                MR. STOLPER:       Your Honor,        I'd like to go

    15    ahead and publish the retention agreement between

    16    Mr. Barela and Eagan Avenatti.              If it pleases the

    17    Court, Mr. Barela's attorney is here, and he authorized

    18    me to do so without a confidentiality objection.

    19                THE COURT:      Is there any other objection

    20    anyone wants to raise with that?

    21                MR. HODGES:       I have not seen the document,

    22    Your Honor.    If I may?       Thank you.

    23                MR. STOLPER:       Without objection, may I

    24    proceed, Your Honor?

    25                THE COURT:      Hearing no objections, you can

                                                                       Page 157

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                                                                       USAO_01143062
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 92 of 137 Page ID
                                  #:24029



     1    STATE OF CALIFORNIA
                                          ss
     2    COUNTY OF LOS ANGELES)
     3

     4                       REPORTER'S CERTIFICATION
     5

     6               I, Serena Wong, Certified Shorthand Reporter
     7    in and for the State of California, do hereby certify:
     8               That the proceedings were taken before me at
     9    the time and place herein set forth;
    10               That the testimony and proceedings were
    11    reported stenographically by me and later transcribed
    12    into typewriting under my direction;
    13               That the foregoing is a true record of the
    14    testimony and proceedings taken at that time.
    15
    16               IN WITNESS WHEREOF,             I have subscribed my name
    17    on this date:      4/11/19.
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    24                                    Serena Wong, CSR No. 10250
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                                                                         Page 246

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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 93 of 137 Page ID
                                  #:24030




SENTENCING EXHIBIT 12
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 94 of 137 Page ID
                                  #:24031
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 95 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 96 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 97 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 98 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 99 of 137 Page ID
                                  #:24036
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 100 of 137 Page ID
                                  #:24037
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 101 of 137 Page ID
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 SENTENCING EXHIBIT 13
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 102 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 103 of 137 Page ID
                                  #:24040
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 104 of 137 Page ID
                                  #:24041




SENTENCING EXHIBIT 14
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 105 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 106 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 107 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 108 of 137 Page ID
                                  #:24045




  SENTENCING EXHIBIT 15
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 109 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 110 of 137 Page ID
                                  #:24047
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 111 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 112 of 137 Page ID
                                  #:24049
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 113 of 137 Page ID
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SENTENCING EXHIBIT 16
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 114 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 115 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 116 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 117 of 137 Page ID
                                  #:24054




 SENTENCING EXHIBIT 17
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 118 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 119 of 137 Page ID
                                  #:24056




  SENTENCING EXHIBIT 18
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 120 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 121 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 123 of 137 Page ID
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                                                                    Local News



  Before Stormy Daniels, her attorney faced allegations of
  dubious business dealings at Tully’s Coffee
  Originally published April 7, 2018 at 2:20 pm | Updated April 7, 2018 at 3:20 pm



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   1 of 2 | Michael Avenatti, lawyer for Stormy Daniels. (Richard
  Drew/The Associated Press)


  Michael Avenatti has become a cable news celebrity for accusing Donald Trump of
  trying to silence his porn-star client, but his involvement with Tully’s Coffee has
  been a source of legal headaches.
https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    1/7
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                By Lewis Kamb 
                Seattle Times staff reporter


  He’s become famous as the brash lawyer for the porn star who purportedly bedded the
  future president, but before Michael Avenatti accused Donald Trump and his attorney of
  a payoff scheme to muzzle Stormy Daniels, he faced allegations of dubious business
  dealings as owner of a flailing coffee chain.
  Since his investment firm bought bankrupt Tully’s Coffee for $9.15 million at auction five
  years ago, Avenatti’s company has been named in more than 50 state and federal legal
  complaints, including commercial lawsuits, breach of lease actions and warrants for
  unpaid taxes, court records show.
  All the while, Tully’s has shuttered store after store — from Everett to Bellevue, Tacoma
  to Seattle, and beyond — with employees left in limbo, landlords left unpaid and
  customers left holding now seemingly worthless loyalty cards.
  And late last month, the list of grievances against Avenatti only intensified, with new
  allegations of wrongdoing.
  In a complaint submitted to the California State Bar Association — and cc’d to the U.S.
  Attorney’s Office in Seattle — Bellevue attorney David Nold asserts Avenatti carried out
  an illegal “pump and dump” scheme through his Washington state-registered Tully’s
  ownership firm, Global Baristas US, LLC.
  Nold’s complaint contends that while Avenatti ran the company, he fleeced nearly $6
  million in federal and state tax withholdings — money meant to be held in trust for
  payment of quarterly taxes — from the paychecks of Tully’s employees.
  The complaint also claims Avenatti fraudulently transferred $100,000 from the Tully’s
  operation last year to retain lawyers for his California law firm’s unrelated bankruptcy.
  “Michael Avenatti’s actions in connection with Global Baristas US, LLC have caused
  significant damage to the State of Washington, the federal government and numerous
  private entities,” according to Nold, who represents Bellevue Square, Ellenos yogurt
  and other clients who have recently sued the Tully’s firm. “And they implicate his
  fitness to practice law.”
  Officials for the California bar won’t say whether they’re investigating.

https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    2/7
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  Avenatti, 47, an aggressive class-action litigator based in Newport Beach, California,
  declined to be interviewed. In an email, he generally disputed the allegations and
  attacked Nold’s character.
  “Mr. Nold is widely known as an unethical ‘hack’ of a lawyer who routinely files
  baseless complaints,” Avenatti’s email said. “He is a disgrace to the legal profession and
  is consumed by jealousy of other attorneys so he makes baseless allegations. His most
  recent conduct is yet more of the same — I hope he gets the help he needs.”
  Avenatti provided no evidence for his attack against Nold, who has no record of
  disciplinary actions or ethical violations, according to the Washington State Bar
  website.
  Nold brushed off the comment. “He’s mad because we wouldn’t be bullied,” he said.
  Avenatti’s email also did not address questions about Tully’s.
  “You will have to ask your questions to the new ownership group who long ago took on
  responsibility for various tax liabilities etc.,” he wrote, declining to specify who those
  owners are or when he divested his stake.
  In various court filings and testimony last year, Avenatti described himself as the
  principal or chairman of the Tully’s chain. During a July deposition, he testified his law
  firm wholly owned Doppio Inc., a Delaware corporation that he said controlled 80
  percent of Tully’s ownership firm, Global Baristas US.
  Current state corporate registration records also list only Avenatti among “governing
  persons” for the similarly named Global Baristas, LLC, which is registered as the
  controlling party for Global Baristas US.
  Robert Sifuentez, 35, who worked for Tully’s for nine years until the store he managed in
  Seattle’s Virginia Mason Medical Center closed last month, said Avenatti’s “name was
  the only name on my paycheck … up until we closed.”
  When the last few Tully’s stores closed in March, company spokeswoman Suzy Quinn
  described the moves as temporary under a long-term “rebranding process.”
  But internal memos detailed an unplanned crisis after the coffee supplier for Tully’s cut
  it off. And in a federal lawsuit filed in January, Vermont-based coffee conglomerate
  Keurig Green Mountain — which actually owns the Tully’s trade name — claimed Global

https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    3/7
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  Baristas failed to pay $500,000 in licensing fees for the past two years. The suit
  contends Global Baristas had to stop using the Tully’s name.
  Meanwhile, Tully’s stores have been evicted from several locations, including its
  corporate offices on Western Avenue, court records show.
  Partner sued
  Global Baristas’ purchase of the Tully’s chain drew controversy from the start. In August
  2013, less than two months after the deal closed, Avenatti’s business partner sued him,
  claiming misrepresentation.
  That partner, actor Patrick Dempsey of TV’s “Grey’s Anatomy,” contended in his suit
  Avenatti told him Global Baristas had enough money to operate the more than 40
  Tully’s stores. But Dempsey, the suit claims, soon discovered Avenatti secretly had taken
  out a $2 million loan with an exorbitant 15 percent interest rate, pledging all Tully’s
  assets as security, the suit claimed. Avenatti quickly settled, and Dempsey walked away
  from the venture.
  The case proved a harbinger of legal actions to come, including a battle against Nold’s
  client, Bellevue Square. For years, the shopping mall’s owner, Kemper Development,
  leased spaces for Tully’s stores in the Lincoln Square, Bellevue Place and Bellevue
  Square shopping centers.
  After Kemper Development opted not to renew leases for Tully’s stores in Lincoln
  Square and Bellevue Place, Global Baristas vacated the Bellevue Square store amid a 10-
  year lease and a costly remodel.
  In 2015, Bellevue Square and B-Squared Construction each sued, both claiming Global
  Baristas broke the lease and hadn’t paid for remodeling work done at its space in the
  mall.
  Avenatti disputed both lawsuits. He claimed his firm didn’t pay the contractor due to
  unspecified construction defects, and contended Global Baristas only agreed to a re-up
  at Bellevue Square after Kemper Development assured it would renew Tully’s leases at
  its two other shopping centers. Such promises weren’t included in the lease agreement,
  but Avenatti claimed they were described in emails between him and his underlings.
  But when a court ordered Global Baristas to produce the emails, Avenatti failed to do so.
  Last year, a judge granted default judgments in favor of Bellevue Square and imposed

https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    4/7
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  sanctions and fines against Global Baristas, ordering it to also cover Bellevue Square’s
  legal bills.
  While Nold pursued collecting more than $1 million from Global Baristas last year, he
  learned Avenatti’s private law firm was in bankruptcy proceedings.
  In March, arbitration on a former law partner’s claim that Avenatti’s firm owed him $14
  million was about to start when a mysterious creditor filed an involuntary Chapter 11
  petition against the law firm for $28,700 in unpaid services, according to court filings.
  The petition plunged Avenatti’s firm into bankruptcy proceedings, postponing the
  arbitration.
  A federal bankruptcy judge later commented the case had a “stench of impropriety,”
  and the mystery creditor was never located. Avenatti later transferred $100,000 from
  Global Baristas to retain a Florida law firm to handle the bankruptcy, court records
  show.
  After Nold argued the transfer was fraudulent due to Global Baristas’ obligations to his
  client, the Florida attorneys returned Avenatti’s check, records show.
  Nold’s firm soon began tracking down Global Barista’s bank accounts to garnish for
  debts owed to Bellevue Square.
  Turn for the worse
  By last fall, daily operations at Tully’s stores took a noticeable turn for the worse,
  according to three former employees interviewed for this story.
  Alki Bakery, Ellenos yogurt, Dillanos coffee and other vendors weren’t consistently
  getting paid, they said, and deliveries became sporadic.
  Global Baristas also wasn’t keeping up with state and federal taxes, court records show.
  For years, the company lagged in paying quarterly taxes, leading Washington’s Revenue
  and Labor and Industries departments to repeatedly file warrants against it. Global
  Baristas often took months to make good on its delinquent tax debts.
  As of last week, more than $1 million of court-filed warrants for unpaid state taxes
  remained unresolved. The IRS also filed liens in July and August against Global Baristas
  and Avenatti for more than $5 million in unpaid taxes dating back to 2015. No releases
  have since been filed showing that debt was paid.

https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    5/7
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  In September, when Boeing announced a dozen Tully’s stores in its facilities around
  Puget Sound would close, the company issued a statement that business had “never
  been stronger.”
  But lawsuits claiming unpaid rents mounted over the next few months. Among those
  winning default judgments was Eisenhower Carlson, a Tacoma law firm that
  represented Tully’s in its dispute with Bellevue Square. The firm received a $93,000
  judgment against its former client.
  Global Baristas often hasn’t responded to recent legal actions against it, records show.
  “We have found Michael Avenatti not to be an easy person to deal with,” noted Matthew
  Green, a Seattle lawyer who represents three Tully’s landlords.
  After Green won default judgments and orders to evict Tully’s from its corporate office
  on Western Avenue and a downtown Seattle store, his clients sought to recoup some of
  the debts by auctioning off equipment left behind.
  Shortly before a sheriff’s auction was set to occur, Avenatti filed claims the property
  didn’t belong to Global Baristas, the subject of the judgment, but to another LLC, Global
  Baristas US. The move delayed the auctions, Green said, forcing him to seek judgments
  against both LLCs.
  Avenatti made a similar claim when Bellevue Square sought to auction off left behind
  items there, Nold said.
  “He tries to use the LLCs to confuse everybody,” said Nold. “Only he was telling me
  exactly the opposite — that his other LLC owned the equipment.”
  Several lawyers for clients with judgments against Global Baristas said they don’t
  expect to collect a dime. But Nold has been relentless, collecting more than $1 million
  against Avenatti.
  “We would garnish Key Bank, then he would move the money to a different bank, then
  to another,” Nold said. “But it didn’t matter, we were finding it. He finally got tired, and
  just paid us.”
  Avenatti is now appealing the Bellevue Square case to Washington’s Court of Appeals.
  Outside Washington, Global Baristas faces several other thorny legal disputes. Last
  week, Daytona International Speedway filed papers in a federal court in Florida seeking

https://www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-dubious-business-dealings/                    6/7
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10/7/22, 2:21 PM    8:19-cr-00061-JVS        Document
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  confirmation of a $760,000 arbitration award against Global Baristas related to an
  undisclosed contract breach.
  Unused credit on loyalty cards may seem piddling by comparison, but some longtime
  Tully’s customers say they’re upset. Nancy Nordstrand said she and her husband each
  recently made deposits on their cards to get a 20 percent bonus offered at their local
  Tully’s. Now, with that store closed, the couple is out $187, she said.
  “The irritation for me is they could’ve stopped those promotions if they thought they
  were going down,” said Nordstrand, who complained to the state attorney general after
  her calls to Tully’s corporate went unanswered.
  Despite such Tully’s turmoil, Avenatti’s fame is only burgeoning.
  The attorney, whose website boasts of more than $1 billion in verdicts and settlements
  won for clients, has become a fixture on cable TV, thanks to his latest high-profile case.
  Sifuentez, the former Tully’s employee, said he can’t help but see the irony.
  “He’s getting all this positive press for the Stormy Daniels thing, but at the same time,
  this (expletive) just cost hundreds of people their jobs,” he said.


  Seattle Times business editor Rami Grunbaum and news researcher Miyoko Wolf
  contributed to this report. It contains material from newspaper’s archive. Lewis Kamb:
  lkamb@seattletimes.com or (206) 464-2932. Twitter @lewiskamb




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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 131 of 137 Page ID
                                  #:24068




 SENTENCING EXHIBIT 20
Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 132 of 137 Page ID
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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 133 of 137 Page ID
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                                  #:24072




 SENTENCING EXHIBIT 21
   Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 136 of 137 Page ID
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                             DEPARTMENT OF THE TREASURY
                                Internal Revenue Service
                                  Criminal Investigation

                                Memorandum of Interview

Investigation #:    1000290795                     Location:   Via Teleconference
Investigation Name: Michael Avenatti
Date:                   August 29, 2022
Time:                   Approximately 11:10
                        AM – 12:11 PM
Participant(s):         Amelia Racine, Witness
                        Ryan Roberson, Special Agent
                        Melinda Ball, Supervisory Special Agent
                        Brett Sagel, Assistant United States Attorney
                        Ranee Katzenstein, Assistant United States Attorney
                        David Gueber (ID 5989), IRS Contractor (Lionbridge Interpreter Service)


   On the date and time listed above, Assistant United States Attorney’s Brett Sagel
   (AUSA Sagel) and Ranee Katzenstein (AUSA Katzenstein), along with Special Agent
   Ryan Roberson, Supervisory Special Agent Melinda Ball, and IRS Contractor (French
   Interpreter) David Gueber spoke with Amelia Racine (Racine) via Teleconference. At
   the outset of the interview, AUSA Sagel thanked Racine for voluntarily speaking to us,
   and informed Racine she does not need to disclose privileged information. Racine is
   represented by Filippo Marchino (Marchino) but did not need him on the call. Racine
   had no reservations about providing information related to Michael Avenatti (MA).
   Racine voluntarily provided the following information:

        1. Racine suffered a head injury many years ago during an accident while working
           as a model on a project. Racine retained Marchino and X-Law Group to
           represent her. Shortly thereafter XLG merged with MA’s law firm, and then
           Racine met MA for the first time. A settlement was reached for $15,000.00
           between Racine and Bob Gordon, the producer of the project Racine was
           working on when she was injured. To this date, Racine never received any
           funds from the $15,000.00 settlement.

        2. The settlement amount of $15,000.00 was intended to cover Racine’s hospital
           fees incurred from her head injury. According to the settlement agreement, the
           settlement was with Bob Gordon, UpMarket, and Illustra films.

        3. Racine confirmed the funds from the $15,000.00 settlement were sent to MA in
           approximately September 2018.

        4. Racine was first informed of the $15,000.00 settlement from Marchino’s
           assistant, Tom. Both MA and Marchino also informed Racine of the $15,000.00

                               Memorandum Page 1 of 2                    U.S. Treasury Criminal Investigation



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Case 8:19-cr-00061-JVS Document 1000-2 Filed 10/11/22 Page 137 of 137 Page ID
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           settlement. Racine spoke with MA several times in regard to the $15,000.00
           settlement, mostly over the phone but occasionally over texts and e-mails as
           well. Racine still has the text messages with MA, but is not sure about emails.

         5. Racine reached out to MA several times to inquire when she would receive her
            settlement funds. MA always had an excuse why she wasn’t being paid and
            oftentimes stated, “Next week.” Eventually XLG cut ties with MA and then MA
            stopped answered Racine’s calls and texts.

         6. MA never told Racine she was not entitled to the $15,000.00.

         7. Racine does not have any issues with her name, and the information she
            provides to us, being used in court.

         8. Racine is currently employed as a model and actress. Racine had another
            accident while working, but only XLG represented her in that matter.

         9. Racine suffered financial hardship when MA stole the $15,000.00 from her.
            Racine relied on her boyfriend to financially support her because she was
            unable to work due to her head injury and regularly losing her balance. Racine
            also needed follow-up care from the hospital.

     AUSA Sagel informed Racine that the government will do its best to provide the funds
     MA stole back to Racine, but despite its best efforts, the government is not likely to do
     so due a lack of funds for victims. Racine is willing to provide any information that is
     needed. AUSA Sagel thanked Racine for her time and the interview was concluded at
     12:11 PM.


     I prepared this memorandum on August 29, 2022, after refreshing my memory from
     notes made during and immediately after the interview with Racine.




                                                         Ryan Roberson
                                                         Special Agent



                                                         Melinda Ball
                                                         Supervisory Special Agent




                             Memorandum Page 2 of 2                     U.S. Treasury Criminal Investigation



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